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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-3333-MJ-EGT

  UNITED STATES OF AMERICA,

  v.

  DANIEL HERNANDEZ,

              Defendant.
  _______________________________/

                                                ORDER

         THIS MATTER comes before the Court on the United States of America’s Consent

  Motion to Continue Arraignment and Preliminary Examination For One Week and Exclude Time

  Under the Speedy Trial Act as to Defendant Daniel Hernandez (Dkt. No. 12.) Defendant

  Hernandez and his counsel joined in, and signed, the motion. The motion is hereby GRANTED.

         Defendant Hernandez’s arraignment and preliminary examination are adjourned until

  November 4, 2022, and the time between October 28, 2022, and November 4, 2022, shall be

  excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h), as the Court finds good cause shown

  and that the ends of justice served by taking this action outweigh the interests of the parties and

  the public in a speedy trial. The parties’ stipulation sets forth that the United States has already

  provided extensive discovery to the defense and there exists the need for time for the parties to

  discuss the possible resolution of the case and the need for time for effective preparation taking

  into account the exercise of due diligence.

         DONE AND ORDERED in Chambers in Miami, Florida, on October 27, 2022.


                                         _____________________________________
                                         HON. LAUREN LOUIS
                                         UNITED STATES MAGISTRATE JUDGE
